Case 9:19-cv-00144-RC-KFG Document 23 Filed 09/24/20 Page 1 of 2 PageID #: 1115




                         ***NOT FOR PRINTED PUBLICATION***

                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 JOHNATHAN MYERS,                              §
     Plaintiff,                                §
                                               §                    No. 9:19-CV-00144
 v.                                            §
                                               §
                                               §
 COMMISSIONER OF THE SOCIAL                    §
 SECURITY ADMINISTRATION,                      §
     Defendant.                                §

                 ORDER OVERRULING OBJECTIONS AND ACCEPTING
                        REPORT AND RECOMMENDATION

        The Plaintiff requests judicial review of a final decision of the Commissioner of Social

 Security Administration with respect to his application for disability-based benefits. This matter

 has been referred to the Honorable Keith Giblin, United States Magistrate Judge, at Beaumont,

 Texas, for consideration pursuant to applicable laws and orders of this court. The magistrate

 judge submitted a report recommending that the decision of the Commissioner be affirmed. The

 court has considered the report and recommendation filed on July 21, 2020 (Doc. No. 20) and

 the Plaintiff’s objections. (Doc. No. 21.) The court has conducted a de novo review of the

 objections in relation to the pleadings and the applicable law. See Fed. R. Civ. P. 72(b). After

 careful consideration, the court concludes that the Plaintiff’s objections are without merit. The

 court concludes that the magistrate judge correctly identified and discussed the points of error

 argued by plaintiff and analyzed those points correctly. The magistrate judge properly examined

 the entire record to determine that substantial evidence supports the administrative law judge’s

 determination of weight accorded to medical evidence and the Commissioner’s denial of

 benefits.
Case 9:19-cv-00144-RC-KFG Document 23 Filed 09/24/20 Page 2 of 2 PageID #: 1116




        Accordingly, all the Plaintiffs objections are OVERRULED. The findings of fact and

 conclusions of law of the magistrate judge are correct and the report of the magistrate judge is

 ACCEPTED. A final judgment will be entered in this case in accordance with the magistrate

 judge’s recommendation.

        So ORDERED and SIGNED, Sep 24, 2020.


                                                         ____________________
                                                         Ron Clark
                                                         Senior Judge
